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                                                                         Sign in sheet attached


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 Motion for Relief from Stay hearings continued to 11/18/19 @ 2:00 in Ctrm. 1.




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                           Case 19-62584-pcm11            Doc 389   Filed 11/12/19
Case 19-62584-pcm11   Doc 389   Filed 11/12/19
